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ATTACHMENT A
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Ye) eS G ul alia)

Title Wendell Landis - Sexual Conduct with a Minor

Misconduct The suspect, age 27, is engaging in repeated sexual
conduct with a 15-year-old girl.

Date Range 4/12 - present

Subject Name Wendell Landis (UID: 1641165072)

Subject Location Telford, PA

Victim #1 Name 1 BR (UD: 1334013414)

Victim #1 Location Buford, GA

Please submit preservation requests and
all legal process to
www.facebook.com/records

* Facebook messages between 27-year-old Wendell Landis (UID: 1641165072) and 15-year-old
F HR (UID: 1334013414) indicate that Landis is engaging in repeated sexual conduct
with Hj. He also attempts to solicit/produce photographs of her engaging in sexual conduct.

Case Summary
April 29, 2012

[Wendell Landis (1641165072) - 04/29/2012 17:47:10 UTC]
Lol... wanna take pics of u....

(el HH (1334013414) - 04/29/2012 17:47:41 UTC]
Mmmm what kindd ;)

[Wendell Landis (1641165072) - 04/29/2012 17:48:33 UTC]
Not ones u can put on fb...

[Wendell Landis (1641165072) - 04/29/2012 17:53:21 UTC]
Maybe start out with underwear pics...

( (1334013414) - 04/29/2012 17:57:53 UTC]
Mmm u can take any type u want ;)

[Wendell Landis (1641165072) - 04/29/2012 17:58:35 UTC]
Maybe end up taking pics of u sucking my dick...

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security

[FRY H 1 33 4.0134.14) - 04/29/2012 17:59:02 UTC]
| wouldnt mind that ;)

[Wendell Landis (1641165072) - 04/29/2012 18:00:46 UTC]
Or maybe a pic of my dick in ur ass....

(HH (1334013414) - 04/29/2012 18:01:37 UTC]
Anything u want hun ;)

[Wendell Landis (1641165072) - 04/29/2012 18:02:10 UTC]
Ever take any pics like that before?

[F RH (1334013414) - 04/29/2012 18:02:28 UTC]
Nopee

[Wendell Landis (1641165072) - 04/29/2012 18:03:09 UTC]
Do u want to?

(FH (1 334013414) - 04/29/2012 18:03:39 UTC]

I dont mindd if u wanna

[Wendell Landis (1641165072) - 04/29/2012 19:49:09 UTC]
| gotta make sure I can come tonight

[FH SR (1334013414) - 04/29/2012 19:50:10 UTC]
Okayyss well if u can. U can do w,e u want to me and take any pics u want ;)

[Wendell Landis (1641165072) - 04/29/2012 19:50:42 UTC]
I wanna finger ur ass while u suck my dick

(F HR (1 33 4013414) - 04/29/2012 19:51:15 UTC]
Go ahead ;)

(FD He (1334013414) - 04/29/2012 21:25:06 UTC]
Haha not uhh! I jus kissed u alott

[Wendell Landis (1641165072) - 04/29/2012 21:25:20 UTC]
That's all?

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1] GSS GU) Ney

[FH RR (1334013414) - 04/29/2012 21:26:18 UTC]
At first haha then u were like | gotta stop or im gunna wanna fuck u haha

[Wendell Landis (1641165072) - 04/29/2012 21:26:36 UTC]
So u kept going.....

(FN HM (1334013414) - 04/29/2012 21:27:57 UTC]
Hahaha I did ;) hey im not the one who gets excited that easilyy loll all we did was make out and u were
ROCK hard

[Wendell Landis (1641165072) - 04/29/2012 21:28:29 UTC]
R u complaining?

(FR HY (1334013414) - 04/29/2012 21:33:18 UTC]

U acted rlly surpriseedd when | sat on u lol | toldd ul was rlly tight :P I hope u liked it thooo ;)

[Wendell Landis (1641165072) - 04/29/2012 21:33:39 UTC]
It felt good

(FH RN (1334013414) - 04/29/2012 21:35:23 UTC]

Well if u come ovr then u can feel it again

[Wendell Landis (1641165072) - 04/29/2012 21:35:42 UTC]
U sure?

[Ta RY 1 33 4013414) - 04/29/2012 21:50:21 UTC]
100% sure ;) and maybe this timee u can take some control when we fuck ;)..and last longer?

May 5, 2012

(Wendell Landis (1641165072) - 05/05/2012 23:34:41 UTC]
R ur parents gonna be home all day tomorrow?

(F HR) 1 334013414) - 05/05/2012 23:35:48 UTC]
Yeahh but I can jus go to the park

[Wendell Landis (1641165072) - 05/05/2012 23:36:52 UTC]
I'm going to my friends boat tomorrow to talk business but not sure when or for how long

[FD HR (1334013414) - 05/05/2012 23:40:07 UTC]
Okayy :D

[Wendell Landis (1641165072) - 05/05/2012 23:50:13 UTC]

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9) CSe@ lain
Idk if | can fuck but would love a nice bj

(Ha HE (1. 334013414) - 05/05/2012 23:52:09 UTC]

I can do that ;)
May 6, 2012

{Wendell Landis (1641165072) - 05/06/2012 03:30:31 UTC]
Ru horny?

[ HE 1 334013414) - 05/06/2012 03:30:49 UTC]
Mmhhmmm

[Wendell Landis (1641165072) - 05/06/2012 03:32:32 UTC]
My back and neck r killing me

[FY HR (1334013414) - 05/06/2012 03:33:05 UTC]

:(im sorryy im on my way down now

[Wendell Landis (1641165072) - 05/06/2012 04:21:39 UTC]
Do ulike ass or pussy more?

(FR HY (1334013414) - 05/06/2012 04:22:06 UTC]
| have to say ass lol atleast when riding :P

[Wendell Landis (1641165072) - 05/06/2012 04:23:04 UTC]
So its a do it again?

[FD |  (1.33.4013414) - 05/06/2012 04:23:20 UTC]
Hell yes

[Wendell Landis (1641165072) - 05/06/2012 04:24:12 UTC]
Was tonight better than last time?

(HER RR (1334013414) - 05/06/2012 04:26:47 UTC]

Yes!

(Wendell Landis (1641165072) - 05/06/2012 04:27:44 UTC]
Y?

[FR + RR (1334013414) - 05/06/2012 04:29:10 UTC]

More intensee and moree rough ;)

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oy0) SEC UPL

[Wendell Landis (1641165072) - 05/06/2012 04:31:10 UTC]
Longer?

[FR 1 RR (1334013414) - 05/06/2012 04:31:32 UTC]

Yes!

(FY HR (1 33. 4013.44) - 05/06/2012 04:35:12 UTC]

It was soooo fun lovee
May 11, 2012

[FQ HB (1334013414) - 05/12/2012 02:49:02 UTC]
Hun u trying to act domante makes me laugh cuz every time I fuck you im on top :P and being a bit more
domante soooo maybe if u start being more controlling

(HE 1 334013414) - 05/12/2012 02:49:42 UTC]
And accually I do. Get outta the car and make me take off the nighty :P

[Wendell Landis (1641165072) - 05/12/2012 02:51:20 UTC]
I'll do it in the middle of the day at the park...

(FH 1 33-4.013414) - 05/12/2012 02:51:50 UTC]

Mm in an open feild

[Wendell Landis (1641165072) - 05/12/2012 02:52:28 UTC]
I'm gonna lift ur skirt with people around

(FR sR 1 334013414) - 05/12/2012 02:52:48 UTC]

Do it.

[Wendell Landis (1641165072) - 05/12/2012 02:53:46 UTC]
I'm gonna take pics of u at the park...

(Fi HR (1334013414) - 05/12/2012 02:54:23 UTC]
They better be naughtyy

[Wendell Landis (1641165072) - 05/12/2012 02:54:48 UTC]
Of course

June 17, 2012

[Wendell Landis (1641165072) - 06/17/2012 18:39:39 UTC]
Ru alone with him right now?

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+i) CSU aiiay

(FR HM. 334013414) - 06/17/2012 18:51:20 UTC]
Yep

{Wendell Landis (1641165072) - 06/17/2012 19:06:06 UTC]
U should flash him....and see what happens

(FR HR (1.33. 4.013.414) - 06/17/2012 19:43:21 UTC]

Haha why

[Wendell Landis (1641165072) - 06/17/2012 19:44:12 UTC]
Cuz | want pics of u blowing him

Suspect Table
Name Wendell Landis
Facebook ID 1641165072
Email Address xtictac22@hotmail.com
Physical Address Unknown
Telephone Number 1 (215) 262-4363
Victim Table
Name Ae (i ae
Facebook ID 1334013414
Email Address (ORS 6 @yahoo.com
Physical Address Unknown

Attends Conestoga High School
Telephone Number 1 (610) 457-2292

Facebook Enforcement Efforts

Landis’s profile has been disabled for engaging in sexual conversation with a minor in violation of
Facebook's Terms of Use.

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